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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,                       CR 16-103-BLG-SPW-2

                   Plaintiff,                   ORDER ALLOWING
                                                DEFENDANT TO APPEAR
vs.                                             BY VIDEO
                                                CONFERENCING
FRANCINE JOANN GRANADOS,

                   Defendant.



      Upon the motion of Defendant Francine Joann Granados requesting that she

be allowed to appear at the arraignment by videoconferencing, the United States

having no objection, and good cause appearing thereon;

      IT IS HEREBY ORDERED that Defendant’s motion to appear by

videoconferencing is GRANTED. Defendant Granados is hereby allowed to

appear for the arraignment by video conferencing on Thursday, April 6, 2017, at

9:00 a.m. (Mountain Time).

      IT IS FURTHER ORDERED that Defendant Granados shall appear in

person on Thursday, April 6, 2017, at 10:00 a.m. (Central Time) at the Quentin N.

Burdick United States Courthouse, 655 1st Ave. N., #130, Fargo, North Dakota,

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for purposes of appearing at the arraignment by videoconferencing.

      DATED this 29th day of March, 2017.



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                                     TIMOTHY J. CAVAN
                                     United States Magistrate Judge
